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 1                               (Stipulating Parties Listed on Signature Pages)
 2                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 3                                     SAN FRANCISCO DIVISION
 4   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 5                                                             MDL No. 1917
     This Document Relates to:
 6                                                             STIPULATION AND [PROPOSED]
     State of California, et. al. v. Samsung SDI Co.,          ORDER REGARDING SCHEDULING
 7
     Ltd., et. al., No. CGC-11-515784
 8

 9
             WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling dated March 21,
10
     2014 (Doc. No. 2459) (“Scheduling Order”), on August 5, 2014, Defendants served the expert
11
     reports of Dr. Dennis Carlton and Dr. Janusz A. Ordover, who addressed issues related to the
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     State of California’s (“California Attorney General”) claims and the expert report of Professor
13
     William S. Comanor (the “California Attorney General’s Expert”);
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             WHEREAS, pursuant to the Scheduling Order, Defendants’ sur-rebuttal expert reports are
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     currently required to be served no later than October 31, 2014;
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             WHEREAS, the Direct Action Plaintiffs (“DAPs”) and Defendants have reached an
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     agreement to modify the Scheduling Order so that Defendants’ sur-rebuttal expert reports will be
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     due on November 6, 2014 and related backup material will be due on November 11, 2014;
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             WHEREAS, the same Defendants’ expert witnesses will respond to the DAPs’ expert and
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     the California Attorney General’s Expert;
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             WHEREAS, the California Attorney General and Defendants have agreed to synchronize
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     the schedule for sur-rebuttal expert reports in the above-captioned case with the DAP schedule;
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             IT IS HEREBY STIPULATED AND AGREED by and between counsel for the California
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     Attorney General and counsel for the Defendants as follows:
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             1.         The last day for Defendants’ experts to serve their sur-rebuttal expert reports on the
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     merits is extended to November 6, 2014, and the last day for Defendants’ experts to serve the
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     backup material accompanying their sur-rebuttal expert reports on the merits is extended to
28
     STIPULATION AND [PROPOSED] ORDER                                                        Case No. 07-5944
     REGARDING SCHEDULING                                                                    MDL NO. 1917
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 1
     November 11, 2014;
 2
             2.         All other dates in the Scheduling Order are unaffected by this stipulation.
 3
                                                       * * *
 4
             The undersigned parties jointly and respectfully request that the Court enter this
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     stipulation as an order.
 6
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
 7

 8
            October 2, 2014
     Dated:___________________                              ______________________________________
 9                                                                      Hon. Samuel Conti
                                                                    United States District Judge
10

11

12   DATED: September 17, 2014                        SHEPPARD MULLIN RICHTER & HAMPTON

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     STIPULATION AND [PROPOSED] ORDER                                                        Case No. 07-5944
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             Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
25
     document has been obtained from each of the above signatories.
26

27

28
     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
     REGARDING SCHEDULING                                                                 MDL No. 1917
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